Case 21-31954-hdh11 Doc 119 Filed 05/06/22                Entered 05/06/22 16:28:27   Page 1 of 3



Joyce W. Lindauer
State Bar No. 21555700
Joyce W. Lindauer Attorney, PLLC
1412 Main Street, Suite 500
Dallas, Texas 75202
Telephone: (972) 503-4033
Facsimile: (972) 503-4034
Dallas, Texas 75230
Attorneys for Debtors

                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

IN RE:                                               §
                                                     §
2999TC ACQUISITIONS, LLC,                            §           CASE NO. 21-31954-hdh
                                                     §
         Debtor.                                     §           Chapter 11

                                            BALLOT TALLY

       2999TC Acquisitions, LLC (the “Debtor”), submits the following tally of Ballots received
in connection with confirmation of its Plan of Reorganization:

         Class 1        Allowed Secured Claim of Dallas County

                                   No votes received.

         Class 2        Allowed Secured Claims of HNGH Turtle Creek, LLC

                                   No votes received.

         Class 3        General Unsecured Claims

                        Bruce K. Thomas voted to accept the Plan. The amount of Bruce K.
                        Thomas’ claim is $22,359.95.

                        Metzger Law PLLC voted to accept the Plan. The amount of Metzger Law
                        PLL’s claim is $12,600.00.

                                   Class 3 voted to accept the Plan.

         Class 4        Insider Claims

                                   No votes received.




Ballot Tally                                                                               Page 1
Case 21-31954-hdh11 Doc 119 Filed 05/06/22          Entered 05/06/22 16:28:27    Page 2 of 3




         Class 5      Equity Interests

                               No votes received.


         Dated: May 6, 2022.

                                                    Respectfully submitted,

                                                      /s/ Joyce W. Lindauer
                                                    Joyce W. Lindauer
                                                    State Bar No. 21555700
                                                    Joyce W. Lindauer Attorney, PLLC
                                                    12720 Hillcrest Road, Suite 625
                                                    Dallas, Texas 75230
                                                    Telephone: (972) 503-4033
                                                    Facsimile: (972) 503-4034
                                                    ATTORNEYS FOR DEBTOR


                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on May 6, 2022, a true and correct copy of the
foregoing document was served via email pursuant to the Court’s ECF filing system upon those
parties listed below.

Katherine T. Hopkins
katherine.thomas@kellyhart.com

John J. Kane
jkane@krcl.com, ecf@krcl.com;jkane@ecf.courtdrive.com

Sherrel K. Knighton
Sherrel.Knighton@lgbs.com, Dora.Casiano-
Perez@lgbs.com;Sean.French@lgbs.com;Dallas.Bankruptcy@lgbs.com

Joyce W. Lindauer
joyce@joycelindauer.com,
dian@joycelindauer.com;deann@joycelindauer.com;12113@notices.nextchapterbk.com

Steven C. Metzger
smetzger@pmklaw.com

Russell Hale Neilson
hneilson@parkinslee.com, hneilson@ecf.courtdrive.com

United States Trustee
ustpregion06.da.ecf@usdoj.gov
Ballot Tally                                                                           Page 2
Case 21-31954-hdh11 Doc 119 Filed 05/06/22     Entered 05/06/22 16:28:27   Page 3 of 3




Kyle Woodard
kwoodard@krcl.com, KWoodard@ecf.courtdrive.com



                                             /s/ Joyce W. Lindauer
                                             Joyce W. Lindauer




Ballot Tally                                                                    Page 3
